Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 1 of 32 PageID 807




                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                       ORLANDO DIVISION


TOM RILEY et al., individually, and   )
on behalf of all others similarly     )
situated,                             )   Case No. 6:22-cv-00499-RBD-EJK
                                      )
               Plaintiffs,            )
                                      )
      v.
                                      )
GENERAL MOTORS LLC,                   )
                                      )
               Defendant.             )
                                      )

       DEFENDANT GENERAL MOTORS LLC’S MOTION FOR
                 SPOLIATION SANCTIONS
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 2 of 32 PageID 808




      For the reasons explained in the accompanying memorandum of law,

Defendant General Motors LLC (“GM”) moves to sanction Heather Shrum for

spoliating the evidence at the center of her claims: her vehicle’s paint. GM

respectfully requests as a sanction for this spoliation: (i) dismissal of Shrum’s

claims with prejudice or, alternatively, her disqualification as a putative class

representative, (ii) attorneys’ fees and costs against Shrum for the expense GM

incurred in bringing this Motion, and (iii) any other sanctions or relief this

Court deems appropriate.

 /s/ Jonathan S. Klein                      /s/ John Nadolenco (pro hac vice)
 Florida Bar No. 125254                     jnadolenco@mayerbrown.com
 jklein@mayerbrown.com                      MAYER BROWN LLP
 Archis A. Parasharami (pro hac vice)       350 South Grand Avenue 25th Floor
 aparasharami@mayerbrown.com                Los Angeles, CA 90071
 MAYER BROWN LLP                            Phone: (213) 229-9500
 1999 K Street NW                           Fax: (213) 576-8179
 Washington, DC 20006
 Phone: (202) 263-3000                      Justing Weiner
 Fax: (202) 263-3300                        weiner@bsplaw.com
                                            BUSH SEYFERTH PLLC
                                            100 W. Big Beaver Road Suite 400
                                            Troy, MI 48084
                                            Phone: 248-822-7841


                          Attorneys for General Motors LLC




                                      -1-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 3 of 32 PageID 809


                                      TABLE OF CONTENTS

                                                                                                         Page


MEMORANDUM OF LAW .................................................................................1
BACKGROUND ...................................................................................................2
     A.   Plaintiffs Sue Over An Alleged Paint Defect .................................2
     B.   The Parties Negotiate and Execute A Protocol For the
          Inspection Of The Subject Vehicles ................................................3
     C.   On September 19, 2022 Shrum Denies Having Any
          Documents Related To Any Repainting Of Her Vehicle ................5
     D.   Shrum Fails To Timely Produce Documentation Of Her
          Vehicle’s Repainting ........................................................................5
     E.   Shrum Discloses The September 15, 2022 Repainting On
          The Day Of The Inspection..............................................................6
ARGUMENT ........................................................................................................8
I.   SHRUM SPOLIATED EVIDENCE BY REPAINTING HER
     VEHICLE ...................................................................................................9
     A.   The Spoliated Evidence Existed at One Time ................................9
     B.   Shrum Had A Duty To Preserve Her Vehicle With The
          Original Paint ............................................................................... 10
     C.   The Spoliated Evidence Is Crucial To GM’s Defense.................. 12
     D.   Shrum Acted In Bad Faith ........................................................... 18
II.  SHRUM’S SPOLIATION WARRANTS DISMISSAL OF HER
     CLAIMS OR, ALTERNATIVELY, HER DISQUALIFICATION
     AS A PUTATIVE CLASS REPRESENTATIVE .................................... 21
III. THE COURT SHOULD AWARD GM THE ATTORNEYS’ FEES
     INCURRED IN BRINGING THIS MOTION ........................................ 25
CONCLUSION .................................................................................................. 25
CERTIFICATE OF SERVICE .......................................................................... 26




                                                       -i-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 4 of 32 PageID 810




                                TABLE OF AUTHORITIES

                                                                                             Page(s)

Cases

Allstate Ins. Co. v. Sunbeam Corp.,
   865 F. Supp. 1267 (N.D. Ill. 1994) ............................................................... 23

Arnold v. Charter Commc’ns, LLC,
  2022 WL 2275168 (M.D. Fla. June 23, 2022) .............................................. 14

In re Arris Cable Modem Consumer Litig.,
   327 F.R.D. 334 (N.D. Cal. 2018) ................................................................... 24

Beers v. Gen. Motors Corp.,
   1999 WL 325378 (N.D.N.Y. May 17, 1999) ................................................. 23

Falcon v. Philips Elecs. N. Am. Corp.,
  304 F. App’x 896 (2d Cir. 2008) .................................................................... 24

Flury v. Daimler Chrysler Corp.,
   427 F.3d 939 (11th Cir. 2005)................................................................ passim

Graff v. Baja Marine Corp.,
  310 F. App’x 298 (11th Cir. 2009) ............................................................ 9, 13

Landry v. Charlotte Motor Cars, LLC,
  226 So. 3d 1053 (2d DCA 2017) .................................................................... 18

Lidey v. Moser’s Rides, SRL,
   2018 WL 6308012 (M.D. Fla. Sept. 7, 2018) .......................................... 16, 17

Mooradian v. FCA US, LLC,
  286 F. Supp. 3d 865 (N.D. Ohio 2017) ................................................... 14, 24

Optowave Co. v. Nikitin,
  2006 WL 3231422 (M.D. Fla. Nov. 7, 2006)....................................................9

Pagan v. Abbott Lab’ys, Inc.,
  287 F.R.D. 139 (E.D.N.Y. 2012) ................................................................... 24

Penick v. Harbor Freight Tools, USA, Inc.,
  481 F. Supp. 3d 1286 (S.D. Fla. 2020) ......................................................... 19


                                                   -i-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 5 of 32 PageID 811




Remy v. Ford Motor Co.,
  2006 WL 3937343 (V.I. Nov. 30, 2006) ........................................................ 22

Se. Mech. Servs., Inc. v. Brody,
   657 F. Supp. 2d 1293 (M.D. Fla. 2009) ...................................................... 8, 9

Silvestri v. Gen. Motors Corp.,
   271 F.3d 583 (4th Cir. 2001)......................................................................... 22

St. Cyr v. Flying J Inc.,
   2007 WL 1716365 (M.D. Fla. June 12, 2007) .................................. 10, 11, 12

Swofford v. Eslinger,
  671 F. Supp. 2d 1274 (M.D. Fla. 2009) ........................................................ 25

Tesoriero v. Carnival Corp.,
   965 F.3d 1170 (11th Cir. 2020)............................................................... 19, 22

Tripp v. Walmart, Inc.,
   2023 WL 399764 (M.D. Fla. Jan. 25, 2023) ........................................... 12, 25




                                                   -ii-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 6 of 32 PageID 812




                            MEMORANDUM OF LAW

      Plaintiff Heather Shrum’s claims against GM are all based on the

allegation that the paint or clearcoat on her 2015 Chevrolet Tahoe was

defective. The evidence at the heart of her claim is the vehicle’s paint itself.

But Shrum destroyed that evidence by repainting her vehicle1 after suing and

without notifying GM. More troubling, Shrum repainted her vehicle just two

days after agreeing to an Inspection Protocol that expressly obligated Shrum

to “preserve” the vehicle until after GM could inspect it.

      Moreover, just four days after repainting the vehicle, and despite

possessing a receipt documenting that repainting, Shrum concealed her

destruction of evidence by falsely representing that she had no documents

responsive to GM’s request for all documents related to any repainting or re-

application of clearcoat performed on her vehicle. GM first learned that Shrum

had already repainted her vehicle during her vehicle inspection.

      Shrum’s intentional destruction of the paint at issue—despite knowing

that GM planned to inspect the paint and despite agreeing just days earlier

that she would continue to preserve her vehicle intact—warrants dismissal of

her claims with prejudice. That sanction is fully warranted to remedy the harm



1 GM refers to the vehicle that Shrum alleges owning as “her vehicle” for simplicity, but
confirmed during Shrum’s January 31, 2023 deposition that Shrum is not the registered
owner of the vehicle. Ex. 1 at 115:8-21. GM accordingly preserves the argument that Shrum
lacks standing to bring any of her claims.



                                          -1-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 7 of 32 PageID 813




and deter future similar conduct—particularly when, as here, Shrum

intentionally delayed disclosing the spoliation to GM. At the very least, Shrum

should be disqualified as a putative class representative—both because her

actions make her an atypical member of the class by giving GM additional

unique defenses against her, and because her actions demonstrate that she is

inadequate to perform her duties as a named plaintiff. In addition, GM should

be awarded its attorneys’ fees incurred in bringing this motion.

                                    BACKGROUND

       A.     Plaintiffs Sue Over An Alleged Paint Defect.

       Plaintiffs allege that a defect in the paint or clearcoat on certain GM

vehicles causes the paint “to microblister, delaminate, peel, fade, and bubble.”

First Amended Class Action Complaint (“FAC”), Doc. 41 ¶ 98. Based on this

allegation, Plaintiffs bring claims for breach of warranty, unjust enrichment,

fraud, and violation of certain state consumer-protection statutes.2

       Plaintiffs sued on March 9, 2022 and filed the operative FAC on June 24,

2022. In her recent deposition, Shrum testified that she bought a used 2015

Chevrolet Tahoe in May 2016 from Courtesy Chevrolet in San Diego, California.


2 GM has explained in separately filed motions why Tom Riley’s claims are subject to
arbitration, why all Plaintiffs fail to state any claim as a matter of law and the Court lacks
personal jurisdiction over the claims of Sherry Kilburn, and why the Court should strike
Plaintiffs’ nationwide class allegations. Docs. 35, 47, 48. Plaintiffs conceded that the court
lacks personal jurisdiction as to Kilburn’s claims and “do not oppose dismissal” of her claims.
Doc. 54 at n.3. In addition, Plaintiffs conceded that Shrum’s design defect claim fails and
should be dismissed. Id. GM’s motions remain pending.



                                             -2-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 8 of 32 PageID 814




Declaration of Elisabeth Anderson, Ex. 1 at 58:2-8;3 FAC ¶ 41. Shrum says that,

in November 2019, she noticed discoloration and delamination of the clearcoat

on her car. Ex. 1 at 100:17-19; FAC ¶ 49. That same month, she brought her

vehicle to a Chevrolet dealership and received an estimate to repair the hood

and roof for $1,543.00. Ex. 1 at 112:10-113:6; FAC ¶ 50 (alleging the estimate

was for the “hood only”). The day after visiting the dealership, Shrum posted

to the Facebook group “Class Action Settlement Lovers” asking “if anyone has

any experience with the process to start a class action,” because her “2015 GM

Chevrolet Tahoe hood and roof needed to be repainted.” Ex. 17 at 1.

         According to the FAC, Shrum had not repainted her vehicle before filing

that complaint. In fact, she alleges that her vehicle “continues to worsen” and

provides two undated photos purporting to illustrate the appearance of the

vehicle “today” (the date the FAC was filed). FAC ¶ 52. Shrum also testified at

her deposition that she had not repainted her vehicle before filing the FAC. Ex.

1 at 132:25-133:4.

         B.     The Parties Negotiate and Execute A Protocol For the
                Inspection Of The Subject Vehicles.

         The parties began negotiating an Inspection Protocol following the

Court’s scheduling conference in May 2022. Plaintiffs signed the Inspection

Protocol on September 13, 2022, and GM signed the Inspection Protocol on


3   All exhibits cited herein are attached to the Declaration of Elisabeth Anderson.



                                              -3-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 9 of 32 PageID 815




September 14, 2022. Ex. 2 at 1.

      The Inspection Protocol provides: “GM and one or more consultants

retained by GM will have the opportunity to conduct inspections of each of the

Plaintiffs’ vehicles that are the subject of litigation.” Ex. 3 at 1. Plaintiffs

agreed to “continue to preserve for inspection their currently owned or

leased Subject Vehicle(s) until such time as disposition is permitted under this

Protocol,” that is, until “the successful completion of an inspection pursuant to

the [Protocol].” Id. at 4 (emphasis added). And “[i]f any Plaintiff desires to sell,

transfer, trade, or otherwise dispose of his or her Subject Vehicle before an

inspection has taken place, then such Plaintiff shall provide no fewer than

forty-five (45) days’ written notice to GM’s Counsel.” Id. In addition, the

Protocol specified: “To the extent Plaintiffs have removed parts of the Subject

Vehicles prior to the inspection or otherwise permitted the Subject Vehicles to

be modified, repaired, destroyed, or otherwise altered prior to the inspection,

GM reserves all rights and objections resulting from that modification, repair,

destruction, or alteration, including claims for spoliation of evidence.” Id. at 5.

      The Protocol contemplated that GM would “measure the total coating

thickness of the vehicle’s paint,” photograph or image the vehicle, “measure

and document any and all areas of damage or other conditions of the vehicle,”

and use “other non-destructive testing, examination or assessment.” Id. at 2-3.




                                       -4-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 10 of 32 PageID 816




       C.    On September 19, 2022 Shrum Denies Having Any
             Documents Related To Any Repainting Of Her Vehicle.

       GM served document requests on Shrum on August 19, 2022, to which

 Shrum responded on September 19, 2022. GM requested, among other things,

 documents related to any repainting of Shrum’s vehicle. Ex 4. Shrum’s

 September 19, 2022 response stated that no documents “related to [any]

 repainting” of the vehicle exist:




 Id. at 4. That was false: Shrum repainted her vehicle just four days earlier and

 had the receipt in her possession. See Ex. 14 at 1; Ex. 1 at 126:7-10.

       D.    Shrum Fails To Timely Produce Documentation Of Her
             Vehicle’s Repainting.

       GM followed up regarding the expected timing for Shrum’s document

 production on October 19, 2022, November 9, 2022, and November 10, 2022.

 Ex. 5 at 1; Ex. 6 at 1; Ex. 7 at 1. On November 14, 2022, Plaintiffs’ counsel

 wrote GM’s counsel that “We need to have the Shrum vehicle inspected as she

 intends to dispose of it soon.” Ex. 12 at 9. One day later, on November 15, 2022,

 Plaintiffs’ counsel apologized for “missing” GM’s earlier requests regarding

 Shrum’s production, stating that he “thought [Plaintiffs] had produced

 documents” and “thought [he] had received” documents from Shrum, but that



                                       -5-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 11 of 32 PageID 817




 he did “not have them from her yet.” Ex. 8 at 1.

       On December 5, 2022, the Parties confirmed that Shrum’s vehicle

 inspection would take place on December 14, 2022. Ex. 12 at 6. That same day,

 Plaintiffs’ counsel also purported to provide Shrum’s production, stating:




 Ex. 9 at 1. GM reviewed Shrum’s production and found only three photos,

 provided in the ShareFile link: two photos of Shrum’s vehicle like those

 included in the Complaint, and one photo of a driveway leading to a house.

 Anderson Decl. ¶ 11. On December 13, 2022, counsel for GM wrote Plaintiffs’

 counsel explaining that “The only files included with [Plaintiffs’] December 5

 email were the three photos provided in the Sharefile folder,” and asking: “Was

 there supposed to be another attachment with the rest of Ms. Shrum’s

 production?” Ex. 10 at 1.

       E.    Shrum Discloses The September 15, 2022 Repainting On
             The Day Of The Inspection.

       On December 14, 2022, GM’s vehicle inspector and attorney arrived for

 the scheduled inspection of Shrum’s vehicle only to be informed, for the first

 time, that Shrum had repainted her vehicle. When the parties discussed

 whether it was necessary to reschedule the inspection due to weather,

 Plaintiffs’ counsel finally disclosed the repainting, stating: “your expert wants



                                       -6-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 12 of 32 PageID 818




 pictures of the vehicle which reflects the original paint job and since the vehicle

 has been repainted pictures are not necessary.” Ex. 11 at 1.

       After GM pointed out that it had no prior notice that Shrum had

 repainted her vehicle, Plaintiffs’ counsel claimed that “documents were

 produced well in advance of the inspection that showed payment of money to

 repaint her vehicle” (Ex. 12 at 2) and specifically that “her document

 production was on December 5, 2023 via email and ShareFile link” (id. at 1).

 But as GM had already explained, the ShareFile link contained only three

 photographs in native format, consistent with Plaintiffs’ December 5 email

 stating that only natives were located in the ShareFile (Ex. 9 at 1). Counsel for

 GM attempted to check the ShareFile again on December 14 in response to

 Plaintiffs’ claimed production, but the ShareFile link was no longer valid.

 Anderson Decl. ¶ 17. 4

       Later in the morning on the day of Shrum’s inspection, Plaintiffs’ counsel

 finally provided Shrum’s production (Ex. 13 (attaching Shrum Production_001-

 014)), including a receipt in the amount of $4,600 from “Oscar’s Body &

 Painting Inc.” for “2015 Chevy Tahoe Painting” (Ex. 14 at 1). The receipt is


 4Plaintiffs’ counsel never informed GM that Shrum’s ShareFile folder would expire. See Ex.
 10. In contrast, Plaintiffs’ counsel had informed GM that the ShareFile provided on
 November 15 for native files in Gary Ambrose’s production would expire in ten days. Ex. 9.
 Curiously, however, the same was apparently not true for Shrum’s ShareFile. GM attempted
 to verify on December 14—the ninth day after receiving Shrum’s December 5 production
 email—whether the PDF production had been included in the ShareFile folder as Plaintiffs’
 counsel claimed, but the ShareFile link was already inaccessible. See Anderson Decl. ¶ 17.



                                           -7-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 13 of 32 PageID 819




 dated September 15, 2022. Ex. 14. At Shrum’s deposition on January 31, 2023,

 Shrum admitted that she had this receipt in her possession on September 15,

 2022 (Ex. 1 at 126:7-10)—four days before Shrum falsely stated that “no

 responsive documents exist” regarding GM’s request for documents related to

 any repainting of Shrum’s vehicle (Ex. 4 at 4).

                      *           *            *           *

       Regardless of whether Plaintiffs’ counsel produced the September 15,

 2022 painting receipt on December 5 or December 14, the fact remains that

 Shrum destroyed evidence central to her claims during the pendency of this

 litigation and failed to notify GM of her intent to repaint her vehicle, which

 thwarted GM’s ability to inspect her allegedly defective paint and clearcoat.

                                  ARGUMENT

       “[F]ederal law governs the imposition of spoliation sanctions,” but courts

 may look to state law for guidance as long as it is consistent with federal law.

 Flury v. Daimler Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005); Se. Mech.

 Servs., Inc. v. Brody, 657 F. Supp. 2d 1293, 1299 (M.D. Fla. 2009). The Eleventh

 Circuit recognizes “the failure to preserve property for another’s use as

 evidence in pending or reasonably foreseeable litigation” as spoliation. Graff v.

 Baja Marine Corp., 310 F. App’x 298, 301 (11th Cir. 2009) (excluding results

 from plaintiffs’ testing of an allegedly defective part that plaintiffs destroyed

 without notifying defendants). Spoliation occurs when “(1) the evidence existed



                                       -8-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 14 of 32 PageID 820




 at one time, (2) the alleged spoliator had a duty to preserve the evidence, and

 (3) the evidence was crucial [or critical] to the movant’s . . . case or defense.”

 Se. Mech. Servs., Inc., 657 F. Supp. 2d at 1299. The sanctions of dismissal or

 an adverse inference jury instruction require evidence of bad faith. Optowave

 Co. v. Nikitin, 2006 WL 3231422, at *8 (M.D. Fla. Nov. 7, 2006) (citing Flury,

 427 F.3d at 944-45; Bashir v. Amtrak, 119 F.3d 929, 931 (11th Cir. 1997)).

       Each requirement is readily met here, and dismissal of Shrum’s claims

 (or, alternatively, her disqualification as a putative class representative) and

 assessment of attorneys’ fees and costs is warranted.

 I.    SHRUM SPOLIATED EVIDENCE BY REPAINTING HER
       VEHICLE.

       A.     The Spoliated Evidence Existed at One Time.

       Shrum’s vehicle, with its original factory paint, “existed at one time.” Se.

 Mech. Servs., Inc., 657 F. Supp. 2d at 1299. The FAC alleges that Shrum’s

 vehicle “has never . . . had any repainting done” and “has the original factory

 paint.” FAC ¶ 46; see also Id. ¶ 52 (alleging that the vehicle continues to exhibit

 the purported defect “today”). And Shrum confirmed during her deposition that

 she did not repaint her vehicle before suing. Ex. 1 at 132:25-133:4.

       B.     Shrum Had A Duty To Preserve Her Vehicle With The
              Original Paint.

       Shrum had a duty to preserve as evidence her vehicle with the original

 paint at least by the time she first filed suit on March 9, 2022. “[F]ederal law. . .



                                         -9-
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 15 of 32 PageID 821




 makes clear that that a litigant ‘is under a duty to preserve what it knows, or

 reasonably should know, is relevant [to litigation or potential litigation].’” St.

 Cyr v. Flying J Inc., 2007 WL 1716365, at *3 (M.D. Fla. June 12, 2007) (citation

 omitted) (alterations in original). In St. Cyr, for example, the plaintiffs were

 under a duty to preserve a van because they “contemplated litigation”—indeed,

 they had filed suit—and “it was reasonably foreseeable that the van would be

 relevant to the litigation,” which concerned claims that a defect in the van’s

 gas appliances caused a fire. Id.

       All of Shrum’s claims depend on her allegation that her vehicle had

 defective paint. FAC ¶¶ 56, 179, 189, 202, 213, 242. She maintains that “what

 appeared to be discoloration, microblistering, and delamination of the clear

 coat” on her specific vehicle was caused by a defect. FAC ¶¶ 49-50. The vehicle’s

 paint is crucial evidence needed to assess whether Shrum’s vehicle in fact had

 defective paint or clearcoat. Indeed, Shrum’s complaint included photos of her

 vehicle’s paint (FAC ¶ 52) precisely because she knew that the paint was

 crucial evidence. See St. Cyr, 2007 WL 1716365, at *3 (“Bolstering this

 indication [of a duty to preserve], is the fact that the [plaintiffs] took pictures

 of the damaged van before its destruction.”). As the Eleventh Circuit held in

 Flury, Shrum “should have known that the vehicle, which was the very subject

 of [her] lawsuit, needed to be preserved and examined as evidence central to

 [her] case.” 427 F.3d at 945.


                                       - 10 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 16 of 32 PageID 822




       Moreover, Shrum’s counsel knew from negotiating the Inspection

 Protocol—executed before Shrum repainted her vehicle—that the car’s paint

 was critical evidence that GM intended to inspect, including by “measur[ing]

 the total coating thickness of the vehicle’s paint” and “measur[ing] and

 document[ing] any and all areas of damage or other conditions of the vehicle.”

 Ex. 3 at 2-3. Shrum testified that she “was told” that the purpose of the

 Inspection Protocol “was to measure the thickness of the paint that was on the

 car.” Ex. 1 at 42:13-17. In fact, the Protocol expressly provided that “Plaintiffs

 shall continue to preserve for inspection their currently owned or leased

 Subject Vehicle(s) until such time as disposition is permitted under this

 Protocol” (i.e., “[a]fter GM completes an inspection” of the vehicle), that

 Plaintiffs “shall provide no fewer than forty-five (45) days’ written notice to

 GM’s Counsel” if they desire to “dispose” of the vehicle before an inspection has

 taken place, and that GM reserved its right to bring claims for spoliation of

 evidence if “Plaintiffs have removed parts of the Subject Vehicles prior to the

 inspection or otherwise permitted the Subject Vehicles to be modified, repaired,

 destroyed, or otherwise altered prior to the inspection.” Ex. 3 at 4-5. This case

 is just like Flury, where the “plaintiff was fully aware that defendant wished

 to examine the vehicle” and failed to preserve it anyway. 427 F.3d at 945.

       In sum, Shrum knew or should have known that her vehicle’s paint was

 central in the action and that GM would request to inspect her vehicle’s paint


                                       - 11 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 17 of 32 PageID 823




 during discovery. See St. Cyr, 2007 WL 1716365, at *3. Shrum therefore had a

 duty to preserve it.

       C.     The Spoliated Evidence Is Crucial To GM’s Defense.

       The destroyed evidence is crucial to GM’s defense. “Courts have

 considered evidence ‘crucial’ where it ‘would play a central role . . . in any

 ensuing lawsuit.’” Tripp v. Walmart, Inc., 2023 WL 399764, at *4 (M.D. Fla.

 Jan. 25, 2023).

       In Flury, for example, the plaintiff sued Chrysler for injuries allegedly

 suffered as a result of a manufacturing defect in the vehicle’s airbag system.

 427 F.3d at 940. The Eleventh Circuit held that the vehicle “was the very

 subject of [the plaintiff’s] lawsuit” and “evidence central to his case.” Id. at 945.

 By disposing of the vehicle before the defendant could inspect it, the plaintiff

 “deprived the opposing party of an opportunity to put on a complete defense.”

 Id. at 947. The defendant “did not have an opportunity to examine” the vehicle,

 including the allegedly defective airbag system or “[the vehicle’s] present

 condition.” Id. at 946. “Without the vehicle, [the] defendant lost a valuable

 opportunity to test plaintiff’s theory that the airbag was indeed defective.” Id.

 “[D]irect examination of the vehicle’s condition was critically important,” and

 “[s]poliation of the vehicle forced experts to use much less reliable means of

 examining the product’s condition.” Id.




                                        - 12 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 18 of 32 PageID 824




       Similarly, in Graff, the Eleventh Circuit affirmed spoliation sanctions

 for the destruction of an allegedly defective boat part (called a “gimbal

 housing”), even though the defendant could have referred to plaintiffs’ own

 testing of a portion of the gimbal housing or conducted testing on a surviving

 portion of the gimbal housing. 310 F. App’x at 302. The destroyed part “was the

 critical piece of evidence” in determining whether the gimbal housing was in

 fact defective, and its destruction “denied [the defendants] the same testing

 opportunities as [the] plaintiffs” and “prevented everyone . . . from receiving

 more reliable test results.” Id. Likewise, in Oil Equipment Co. v. Modern

 Welding Co., the Eleventh Circuit held the plaintiff’s spoliation of the allegedly

 defective tank at issue resulted in “severe prejudice” because “it prevented [the

 defendant] from directly examining” the allegedly defective tank and “from

 developing evidence for the purpose of showing that the crack [at issue] was

 not caused by defective materials or workmanship.” 661 F. App’x 646, 655 (11th

 Cir. 2016). Thus, the evidence was crucial, even though plaintiffs had

 photographs of the defective part and witnesses could testify as to the condition

 of the part. Id. at 656.

       The paint on Shrum’s vehicle goes to the heart of the case—it is the

 singular reason she sued. Shrum cannot genuinely dispute that the original

 paint and clearcoat is crucial evidence and that testing and inspecting it is a

 critical step in determining whether her paint was actually defective. That is


                                       - 13 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 19 of 32 PageID 825




 why, as explained, Plaintiffs agreed that GM would be provided the

 opportunity to inspect their vehicles before Plaintiffs modified, repaired,

 destroyed, or otherwise altered the vehicle. Ex. 3 at 4-5; cf. Mooradian v. FCA

 US, LLC, 286 F. Supp. 3d 865, 869 (N.D. Ohio 2017) (holding a plaintiff that

 “knew that [the defendant manufacturer] wanted to inspect [the plaintiff’s]

 vehicle” therefore also “knew that they had a duty not to do anything to that

 vehicle that would or could materially alter it”). By agreeing to the Inspection

 Protocol, Plaintiffs acknowledged GM’s need and intent to inspect Plaintiffs’

 vehicles by measuring the allegedly defective paint and documenting and

 assessing any areas of damage or other conditions of the vehicle. Ex. 3 at 3.5

 Moreover, Plaintiffs’ counsel acknowledged during the inspection that GM’s

 inspector “want[ed] pictures of the vehicle which reflects the original paint job”

 but obviously could not take them “since the vehicle has been repainted.” Ex.

 11 at 1. Further, it is common sense that GM’s ability to measure the newly



 5The Inspection Protocol distinguishes this case from Arnold v. Charter Commc’ns, LLC,
 2022 WL 2275168, at *3 (M.D. Fla. June 23, 2022), where the defendant “never requested”
 or “specifically asked about” inspecting the plaintiff’s vehicle, and the case did not involve an
 alleged vehicle defect. True, GM had not yet requested to schedule Shrum’s vehicle inspection.
 But GM had made it abundantly clear that it intended to do so once GM’s pleadings motions
 were determined, that Shrum was to preserve her vehicle in its current condition until GM
 completed its inspection, and that Shrum must provide GM an opportunity to inspect the
 vehicle before altering or otherwise disposing of her vehicle. Ample time remained for
 discovery, and GM had no reason to think that Shrum would disregard her preservation
 obligations and the agreed-upon Inspection Protocol by repainting her vehicle if GM did not
 immediately conduct its inspection. Indeed, the Eleventh Circuit in Flury reversed a district
 court that had declined to dismiss a spoliator’s claims on the ground that the defendant had
 several months to follow up on its request to inspect the vehicle. See Flury, 427 F.3d at 942.



                                              - 14 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 20 of 32 PageID 826




 applied paint is no substitute for measuring and inspecting the allegedly

 defective paint. While the Inspection Protocol recognized that a vehicle may

 have been repainted (Ex. 3 at 5), that provision contemplated the possibility

 that some vehicles could have been repainted before the plaintiff contemplated

 litigation—not like Shrum’s vehicle that she repainted after she sued over the

 condition of the original paint. And in any event, GM reserved its right to bring

 claims for spoliation of evidence.

       Indeed, there is no replacement for physically inspecting the original

 paint to evaluate the condition of Shrum’s vehicle and to identify the cause of

 her alleged paint concerns. Declaration of Michael Dziatczak ¶¶ 4, 10. To be

 sure, Shrum took two photos of her vehicle’s hood in an attempt to document

 the alleged defect. But GM had no opportunity to take its own photographs.

 Dziatczak Decl. ¶¶ 7-8. And Shrum did not photograph any part of the car

 other than the hood, despite claiming that other parts of the car also had paint

 issues. Ex. 1 at 102:9-14; FAC ¶ 50. Moreover, Shrum’s two photographs are

 no substitute for examining the actual evidence. Flury, 427 F.3d at 946 (stating

 that post-accident photographs and an accident report “[have] some value,” but

 “defendant was precluded from obtaining much more reliable evidence”); Oil

 Equip. Co., 661 F. App’x at 656 (“photographs of the bedding, however

 ‘extensive,’ likewise are no adequate substitute for direct examination of the

 bedding”); Lidey v. Moser’s Rides, SRL, 2018 WL 6308012, at *5 (M.D. Fla.


                                      - 15 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 21 of 32 PageID 827




 Sept. 7, 2018), report and recommendation adopted, 2018 WL 6308697 (M.D.

 Fla. Sept. 26, 2018) (similar). GM had no opportunity to examine or assess the

 allegedly damaged area(s) to ascertain what might have caused any issues.

 Dziatczak Decl. ¶¶ 4-5, 9-10. GM did not have an opportunity to assess, for

 example, whether abrasive cleaning products might have contributed to any

 condition or observe if any other substances were on the vehicle. Id. ¶ 9. Now

 that Shrum has repainted her car, GM cannot test her claim that her paint

 issues were caused by a design or manufacturing defect—as opposed to other

 possibilities (including Shrum’s own failures to maintain the vehicle

 properly)—leaving GM with Shrum’s self-serving characterizations of the

 extent, pervasiveness, and nature of the condition of her car’s paint and

 clearcoat. Dziatcak Decl. ¶ 9-10.6

        For these reasons, this case is also distinguishable from Wills v. Home

 Depot U.S.A., Inc., in which this Court held that the gas cap from an allegedly

 defective generator was not crucial evidence. 2019 WL 4410150 (M.D. Fla. Sept.

 16, 2019) (Dalton, J.). Wills was a personal injury case in which the plaintiff

 alleged that the gas cap on his generator “blew off” and “showered” him in


 6Shrum also alleges that when she brought her car to the Gordon Chevrolet dealership in
 November 2019, it supposedly “acknowledged the defect in the paint, indicating that it
 needed to ‘strip bad paint’ in order to repair the vehicle.” FAC ¶ 50. But the evidence shows
 only that Gordon Chevrolet provided a quote, at Shrum’s request, for the cost of repainting
 her car’s hood and roof panel. Ex. 15 at 1-2. There is no indication that it in fact analyzed,
 tested, or measured the paint. And describing paint as “bad” is not the same as determining
 that the paint or clearcoat exhibited the alleged design or manufacturing defect.



                                            - 16 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 22 of 32 PageID 828




 gasoline, after which a spark from the engine ignited the gasoline and caused

 him severe burns. Id. at *1. The defendants were able to inspect the generator,

 but the generator’s front panel and gas cap went missing. Id. at *2. The

 defendants moved for spoliation sanctions, arguing that the “gas cap is critical

 to their proximate causation defense because it could provide evidence to rebut

 Plaintiff’s version of events and his experts’ opinions.” Id. at *4. The Court

 disagreed. For one, the plaintiff did not allege that the gas cap was defective,

 but that defective muffler mounting brackets in the generator caused the fire

 and the plaintiff’s injuries. And there was ample other, equally strong (or

 stronger) evidence related to proximate cause available. Id. at *5-6. Here, in

 contrast, Shrum’s alleged injury and claimed damages are all tied to the

 allegedly defective paint that Shrum removed from her car. GM has no other

 means of assessing whether (and to what extent) the paint on Shrum’s specific

 vehicle was defective. Thus, the removed paint is crucial in a way that the

 missing parts of the generator were not in Wills.7



 7 In addition, the Court in Wills stated that, in order to obtain a spoliation sanction, the
 “‘spoliated evidence must be so crucial as to completely prevent the movant from defending
 itself, not merely prevent the movant from defending itself completely.’” 2019 WL 440150, at
 *4 (quoting Landry v. Charlotte Motor Cars, LLC, 226 So. 3d 1053, 1058 (2d DCA 2017)). But
 the quoted portion of Landry, applying state procedural rules governing spoliation of evidence,
 makes clear that this is true only when dismissal is sought “based solely on prejudice to the
 movant”—that is, “in the absence of willfulness or bad faith.” Landry, 226 So. 3d at 1058. GM
 has demonstrated Shrum’s bad faith here, see infra pp. 18-21. Thus, this stricter standard
 does not apply, and its application would be inconsistent with Eleventh Circuit precedent
 like Flury, which governs the imposition of spoliation sanctions. See Flury, 427 F.3d at 947
 (holding spoliated evidence was crucial where its destruction “deprived the opposing party of



                                             - 17 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 23 of 32 PageID 829




       D.     Shrum Acted In Bad Faith.

       Shrum acted in bad faith. “Generally, bad faith may be found where the

 plaintiff’s actions are responsible for the spoliation of evidence and ‘the

 plaintiff fully appreciated the significance of the evidence to the anticipated

 litigation.’” Oil Equip. Co., 661 F. App’x at 653. In addition, even in the absence

 of direct evidence of bad faith, bad faith may be founded on circumstantial

 evidence when: “(1) evidence once existed that could fairly be supposed to have

 been material to the proof or defense of a claim at issue in the case; (2) the

 spoliating party engaged in an affirmative act causing the evidence to be lost;

 (3) the spoliating party did so while it knew or should have known of its duty

 to preserve the evidence; and (4) the affirmative act causing the loss cannot be

 credibly explained as not involving bad faith by the reason proffered by the

 spoliator.” Penick v. Harbor Freight Tools, USA, Inc., 481 F. Supp. 3d 1286,

 1292 (S.D. Fla. 2020).

       In Flury, the Eleventh Circuit “found the requisite ‘bad faith’ because

 the plaintiff knew both the location of the vehicle and the defendant’s desire to

 inspect it,” but nevertheless “‘allowed the vehicle to be sold for salvage without

 notification to defendant of its planned removal.’” Oil Equip. Co., 661 F. App’x.

 at 654 (discussing and quoting Flury, 427 F.3d at 944-45). Further, the



 an opportunity to put on a complete defense”). That said, the allegedly defective paint was
 crucial evidence even under this stricter standard, for the reasons already stated.



                                           - 18 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 24 of 32 PageID 830




 Eleventh Circuit noted that the “plaintiff should have known that the vehicle,

 which was the very subject of his lawsuit, needed to be preserved and examined

 as evidence central to his case.” Flury, 427 F.3d at 945; Oil Equip. Co., 661 F.

 App’x at 657-58 (finding bad faith under similar facts). As the Eleventh Circuit

 has since confirmed, “it is no surprise that [the court] found bad faith” on these

 facts. Tesoriero v. Carnival Corp., 965 F.3d 1170, 1185 (11th Cir. 2020)

 (discussing Flury).

       The facts here bear a striking similarity to Flury. Shrum knew that the

 vehicle needed to be preserved. She knew that GM sought to inspect her vehicle,

 and even agreed to an Inspection Protocol that obligated her to “preserve” the

 vehicle until GM could inspect it. Ex. 3 at 4. She knew that the inspection

 would involve measuring and evaluating the allegedly defective paint on her

 vehicle. Id. at 2; Ex. 1 at 42:13-17. And she knew, of course, that repainting the

 vehicle would necessarily destroy the paint and clearcoat she alleged to be

 defective. E.g. FAC ¶ 53 (“repainting the car would require sanding the vehicle

 to the metal”). Nevertheless, just two days after Plaintiffs signed this

 Inspection Protocol and without any notice to GM, Shrum deliberately took her

 car to a body shop and had the entire car repainted. Ex. 14; Ex. 1 at 117:16-21.

       Plaintiffs might say that Shrum provided notice to GM that she intended

 to repaint her vehicle when she contacted GM customer service in early

 November 2019 and sent GM customer service a copy of the quote received


                                       - 19 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 25 of 32 PageID 831




 from her dealership for repainting her vehicle’s hood and roof. But Shrum

 alleges that she had not repainted her car in the two-and-a-half years between

 the November 2019 customer-service chat and the filing of this lawsuit in

 March 2022, at which point she unquestionably was under a duty to preserve

 her vehicle. See FAC ¶ 46 (“Shrum’s [putative] Class Vehicle . . . has the

 original factory paint”); Ex. 1 at 132:25-133:4. Shrum did not provide prior

 notice to GM that she was going to have her vehicle repainted on September

 15, 2022—after filing suit and after entering into the Inspection Protocol.

        Not only did Shrum fail to provide notice before she repainted her vehicle,

 but she also misrepresented the facts after she repainted her vehicle. Four days

 after obtaining the receipt documenting the repainting of her car (Ex. 1 at

 126:7-10), Shrum falsely represented to GM that she had no documents

 responsive to GM’s request for “all documents related to [any] repainting or

 application of clear coat” for her vehicle. Ex. 4 at 4. Two months after

 repainting her vehicle, Shrum informed GM that she “intends to dispose of [the

 car] soon”—conspicuously omitting that she had already repainted it. Ex. 12 at

 9 (emphasis added). And her attorneys failed to produce the repainting receipt

 until the day of her inspection. Ex. 13 at 1; see supra, pp. 6-9.8 The evasiveness


 8Plaintiffs’ counsel say they provided notice of the repainting on December 5, 2022, nine days
 prior to her scheduled vehicle inspection. Whether Plaintiffs produced the receipt on
 December 5 or December 14, the production was months after the vehicle was repainted and
 the damage was already done. Notably, this isn’t the only example of Shrum’s delay in
 producing relevant documents. GM’s first set of requests for production specifically requested



                                            - 20 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 26 of 32 PageID 832




 with which Shrum and her counsel handled her spoliation is not necessary to

 a finding of bad faith, but certainly provides further support for it.

       Simply put, there is no credible explanation for Shum’s spoliation that

 does not involve “bad faith” as understood by the Eleventh Circuit in Flury.

 Nothing required Shrum to repaint her car on September 15, 2022 without any

 prior notice to GM and without providing GM an opportunity to first inspect

 her vehicle—and then fail to disclose the repainting until an inspector was

 literally looking at her car. Shrum intentionally repainted her vehicle without

 prior notification to GM and with full awareness that GM wished to examine

 the vehicle with the allegedly defective paint. Under Flury, those facts are

 more than enough to infer bad faith. 427 F.3d at 945.

 II.   SHRUM’S SPOLIATION WARRANTS DISMISSAL OF HER
       CLAIMS OR, ALTERNATIVELY, HER DISQUALIFICATION AS
       A PUTATIVE CLASS REPRESENTATIVE.

       Sanctions for spoliation “are intended to prevent unfair prejudice to

 litigants and to insure the integrity of the discovery process.” Flury, 427 F.3d

 at 944. The type of spoliation sanction to be imposed turns on: “‘(1) whether

 the party seeking sanctions was prejudiced as a result of the destruction of


 that Shrum “produce all nonprivileged documents, including without limitation
 correspondence, email, direct messages, text messages, and social media posts/comments,
 reflecting communications between you and any other person relating to the Alleged Defect.”
 Ex. 4 at 5 (RFP No. 12). Shrum responded that she “would search for and produce any
 responsive documents in Plaintiff’s possession or control.” Id. But Shrum waited until the
 midst of her deposition on January 31, 2023 to produce to GM copies of Facebook posts and
 resulting email correspondence regarding the alleged defect. Ex. 16 at 1.



                                           - 21 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 27 of 32 PageID 833




 evidence and whether any prejudice could be cured, (2) the practical

 importance of the evidence, (3) whether the spoliating party acted in bad faith,

 and (4) the potential for abuse if sanctions are not imposed.’” Tesoriero, 965

 F.3d at 1184.

        Dismissal with prejudice is a severe sanction, but courts will not hesitate

 to grant dismissal when, as here, a party engages in intentional spoliation that

 prejudices the opposing party. In Flury, the Eleventh Circuit held that the

 district court abused its discretion when it denied dismissal and instead

 “conclud[ed] that a simple jury instruction could cure the resulting prejudice”

 from the plaintiff’s spoliation of his vehicle, which prevented the defendant

 from testing the plaintiff’s theory that its airbag was indeed defective; only

 dismissal would suffice. Flury, 427 F.3d at 946. Likewise, in Oil Equipment

 Company, the Eleventh Circuit affirmed the district court’s decision to dismiss

 the case with prejudice, where “[w]ith knowledge that the evidence was critical

 to a potential lawsuit and to [the defendant’s] potential defenses, [the plaintiff]

 destroyed or allowed the destruction of the [allegedly defective product]

 without providing [the defendant], as it had requested, notice and an

 opportunity to gather evidence in its defense.” 661 F. App’x at 654.9


 9 Cf. Silvestri v. Gen. Motors Corp., 271 F.3d 583, 590-95 (4th Cir. 2001) (dismissing
 manufacturing defect suit where plaintiff had vehicle repaired before defendant could inspect
 it); Remy v. Ford Motor Co., 2006 WL 3937343, at *5, *8 (V.I. Nov. 30, 2006) (dismissing case
 when relevant evidence plaintiff’s control was discarded prior to defendant having an
 opportunity to inspect it, finding that “[a] lesser sanction than dismissal is thus inappropriate



                                              - 22 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 28 of 32 PageID 834




        Dismissal of Shrum’s claims is warranted here, just as it was in Flury

 and Oil Equipment Company. As explained, repainting Shrum’s vehicle

 destroyed evidence central to this alleged paint defect case, and the degree of

 prejudice resulting from Shrum’s repainting of her vehicle is substantial.

 Shrum says her paint issues were caused by a design or manufacturing defect.

 Critical to GM’s defense was an opportunity to measure and test that paint

 and see what it had been exposed to, what contaminants it could detect, and

 how Shrum cared for her car. Now, GM cannot examine the condition of the

 paint on Shrum’s vehicle, determine whether there is any bubbling, peeling, or

 flaking of the paint or clearcoat on the hood or any other part of her car, or

 determine whether any such conditions are due to an alleged defect or some

 other unrelated cause. Dziatczak Decl. ¶¶ 3, 9. It would be highly prejudicial

 to allow Shrum to put forth any of her own testimony and evidence of allegedly

 defective paint on her vehicle when Shrum’s conduct denied GM the ability to

 fully test those assertions. And as explained above, Shrum acted in bad faith

 as articulated by the Eleventh Circuit in Flury. Nobody compelled Shrum to

 repaint her vehicle in the middle of this litigation; she is solely responsible for



 as it does not cure the prejudice” to defendant); Beers v. Gen. Motors Corp., 1999 WL 325378,
 at *1, *9 (N.D.N.Y. May 17, 1999) (dismissing case when plaintiff’s expert witness
 disassembled and irreparably altered allegedly defective product and eventually lost it, and
 no adequate lesser sanction existed to cure prejudice to defendant.); Allstate Ins. Co. v.
 Sunbeam Corp., 865 F. Supp. 1267, 1278 (N.D. Ill. 1994) (dismissing product liability claims).




                                            - 23 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 29 of 32 PageID 835




 intentionally disregarding her preservation obligations under both the Federal

 Rules of Civil Procedure and the Inspection Protocol to which she agreed.

       This case is on all fours with Flury, in which the Eleventh Circuit

 concluded that nothing short of dismissal would be sufficient to address the

 prejudice caused by similar spoliation of evidence to what Shrum did here.

 Accordingly, the Court should dismiss Shrum’s claims with prejudice.

 Alternatively, at the very least, the Court should disqualify Shrum as a

 putative class representative, as her spoliation demonstrates that she is an

 inadequate representative. E.g., Falcon v. Philips Elecs. N. Am. Corp., 304 F.

 App’x 896, 897 (2d Cir. 2008) (affirming district court’s finding that the

 plaintiff could not serve as an adequate class representative because she had

 disposed of the product at issue); Mooradian, 286 F. Supp. 3d at 870

 (disqualifying plaintiff from serving as a class representative because he

 altered his vehicle despite knowing that the defendant wanted to inspect it);

 In re Arris Cable Modem Consumer Litig., 327 F.R.D. 334, 358 (N.D. Cal. 2018)

 (“[E]ven if the Court does not actually sanction [the plaintiff,] the issue of

 spoliation can still render him an inadequate representative”); Pagan v. Abbott

 Lab’ys, Inc., 287 F.R.D. 139, 150 (E.D.N.Y. 2012) (finding plaintiff subject to

 unique legal and factual issues, including whether her “act of discarding her

 recalled Similac before it could be tested constituted spoliation of evidence,”

 was an inadequate class representative).


                                     - 24 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 30 of 32 PageID 836




 III.   THE COURT SHOULD AWARD GM THE ATTORNEYS’ FEES
        INCURRED IN BRINGING THIS MOTION.

        GM also requests that this Court exercise its inherent authority to

 sanction Shrum for her bad faith spoliation by awarding the attorneys’ fees

 and costs that GM incurred in bringing this Motion, and by granting any other

 relief this Court deems appropriate for Shrum’s spoliation. See, e.g., Swofford

 v. Eslinger, 671 F. Supp. 2d 1274, 1287-88 (M.D. Fla. 2009) (awarding

 attorneys’ fees and costs as a spoliation sanction pursuant to the court’s

 inherent authority); Tripp, 2023 WL 399764, at *9 (same).

                                CONCLUSION

        For the foregoing reasons, GM requests that the Court dismiss Shrum’s

 claims with prejudice (or, alternatively, disqualify her as a putative class

 representative) as a sanction for spoliation, and award GM its attorneys’ fees

 and costs in bringing this Motion.

                      Local Rule 3.01(g) Certification

        In accord with Local Rule 3.01(g), counsel for GM conferred with

 Plaintiffs’ counsel via email, including on February 15, 2023, and by phone on

 February 21, 2023. Plaintiffs oppose this motion.


 DATED: February 22, 2023                      Respectfully submitted,

  By: Jonathan S. Klein                   /s/ John Nadolenco (pro hac vice)
  Florida Bar No. 125254                  jnadolenco@mayerbrown.com
  jklein@mayerbrown.com                   MAYER BROWN LLP
  Archis A. Parasharami (pro hac vice)    333 South Grand Avenue 47th Floor


                                      - 25 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 31 of 32 PageID 837




 aparasharami@mayerbrown.com            Los Angeles, CA 90071
 MAYER BROWN LLP                        Phone: (213) 229-9500
 1999 K Street NW                       Fax: (213) 576-8179
 Washington, DC 20006
 Phone: (202) 263-3000                  Justin B. Weiner (pro hac vice)
 Fax: (202) 263-3300                    weiner@bsplaw.com
                                        BUSH SEYFERTH PLLC
                                        100 W. Big Beaver Road Suite 400
                                        Troy, MI 48084
                                        Phone: 248-822-7851

                      Attorneys for General Motors LLC




                                    - 26 -
Case 6:22-cv-00499-RBD-EJK Document 74 Filed 02/22/23 Page 32 of 32 PageID 838




                        CERTIFICATE OF SERVICE

       I certify that on February 22, 2023, I filed the foregoing document on

 CM/ECF, which automatically and electronically delivered notice of filing to

 counsel of record for all parties that have appeared.

       /s/ Jonathan S. Klein




                                      - 27 -
